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                               UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF KENTUCKY
                                       AT LOUISVILLE


  CONSUMER FINANCIAL PROTECTION
  BUREAU                                                                               PLAINTIFF



  v.                                                      CIVIL ACTION NO. 3:13-CV-01047-CRS



  BORDERS & BORDERS, PLC, et al.                                                   DEFENDANTS


                                    MEMORANDUM OPINION

                                              I.   Introduction

         This matter is before the court on plaintiff Consumer Financial Protection Bureau’s

  (hereinafter “the Bureau”) motion for reconsideration of the court’s July 13, 2017 order granting

  defendants’ motion for summary judgment and denying plaintiff’s motion for partial summary

  judgment. ECF No. 161. Defendants Borders & Borders, PLC, Harry Borders, John Borders, Jr.,

  and J. David Borders (collectively “Borders & Borders”) responded. ECF No. 164. The Bureau

  subsequently replied. ECF No. 165. For the reasons stated below, the court will deny the

  Bureau’s motion for reconsideration.

                                        II.    Factual Background

         Borders & Borders is a law firm in Louisville, Kentucky that specializes in real estate

  law. ECF No. 128-3, p. 1. The law firm was founded in 1971 by J. David Borders. Id. His sons,

  David Borders, Jr. and Harry Borders, later joined him in practice. Id. at 2. Borders & Borders

  “has handled tens of thousands of Kentucky real estate closings,” and is also “an authorized

  agent to issue title insurance policies in Kentucky.” Id. at 1.



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         In 2006, Borders & Borders established nine joint ventures with various real estate agents

  and mortgage brokers in the Louisville market. Id. at 10. These joint ventures were title

  insurance agencies (hereinafter “Title LLCs”) that could write policies for mortgage lenders and

  consumers. Id. Fifty percent of each Title LLC was owned by Borders & Borders, and the other

  fifty percent was owned by a corresponding joint venture partner or partners (hereinafter

  “JVPs”). Id.

         Mortgage lenders typically require consumers to purchase a lender’s title insurance

  policy to protect it against any title defects. ECF No. 129-30, p. 1. Although many mortgage

  lenders in the Louisville market have their own affiliated title insurance agencies, some do not.

  ECF No. 128-3, p. 10. When Borders & Borders served as the closing attorney for a real estate

  transaction where there was no captive lender agency involved, the law firm would refer the

  consumer to one of its Title LLCs for the provision of title insurance. ECF No. 129-36, p. 2. The

  particular Title LLC to which the consumer was referred depended on which JVP had served as

  the real estate agent or mortgage broker in the real estate transaction. Id. Borders & Borders

  provided each consumer with a disclosure statement at the time of referral, indicating that the

  Title LLC was jointly owned by Borders & Borders and the JVP and providing its standard rates.

  ECF No. 128-3, p. 16. The consumer then had thirty days from the closing to choose whether to

  purchase title insurance from the Title LLC or from another vendor. Id. From 2009 to 2011, the

  Title LLCs issued over 1,000 title insurance policies relating to over 700 real estate closings. Id.

         On February 23, 2011, the Housing and Urban Development Office (“HUD”) sent

  Borders & Borders a letter stating that they had initiated a Real Estate Settlement Practices Act

  (RESPA) investigation of the law firm’s title insurance referrals. Id. at 19. HUD issued a Request

  for Information and Documents, to which Borders & Borders responded. Id., ECF No. 129-5.



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  Then, on April 25, 2012, HUD advised Borders & Borders that the investigation would be

  transferred to the Bureau, and requested additional information and documents. ECF No. 128-3,

  p. 20.

           On October 24, 2013, the Bureau filed suit against Borders & Borders, alleging that

  Borders & Borders arranged for the Title LLCs to pay distributions to the JVPs in exchange for

  closing services referrals in violation of section 8(a) of RESPA. 12 U.S.C. § 2607(a). ECF No. 1,

  ¶¶ 28-30. Both parties filed motions for summary judgment. ECF Nos. 128, 129. This court

  granted Borders & Borders’ motion for summary judgment, and denied the Bureau’s motion for

  partial summary judgment. ECF No. 158. The Bureau now moves this court to reconsider its

  decision. ECF No. 161.

                                         III.   Legal Standard

           Under Federal Rule of Civil Procedure 59(e), a party may move to alter or amend a

  judgment within twenty-eight days of its entry. Rule 59(e) motions allow district courts to

  correct their own errors, “sparing the parties and appellate courts the burden of unnecessary

  appellate proceedings.” Howard v. United States, 533 F.3d 472, 475 (6th Cir. 2008). Granting a

  Rule 59(e) motion is appropriate when there is: “(1) a clear error of law; (2) newly discovered

  evidence; (3) an intervening change in controlling law; or (4) a need to prevent manifest

  injustice.” Schlaud v. Snyder, 785 F.3d 1119, 1124 (6th Cir. 2015) (citation omitted).

           The Bureau asks this court to reconsider its ruling granting Borders & Borders’ motion

  for summary judgment and denying the Bureau’s motion for partial summary judgment. A trial

  court shall grant summary judgment in a case “if the movant shows that there is no genuine

  dispute as to any material fact and the movant is entitled to judgment as a matter of law.” Fed. R.

  Civ. P. 56(a). The party moving for summary judgment bears the initial burden of



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  “demonstrating that [there is] no genuine issue of material fact.” Celotex Corp. v. Catrett, 477

  U.S. 317, 322, 106 S.Ct. 2548, 91 L.Ed.2d 265 (1986). If the moving party satisfies this burden,

  the burden then shifts to the nonmoving party to “point to evidence demonstrating that there is a

  genuine issue of material fact for trial.” Id. at 323 (emphasis added).

         In considering a motion for summary judgment, the court must consider the facts in the

  light most favorable to the nonmoving party. Scott v. Harris, 550 U.S. 372, 378, 127 S.Ct. 1769,

  167 L.Ed.2d 686 (2007). However, the nonmoving party “must do more than simply show that

  there is some metaphysical doubt as to the material facts.” Matsushita Elec. Indus. Co. v. Zenith

  Radio Corp., 475 U.S. 574, 586, 106 S.Ct. 1348, 89 L.Ed.2d 538 (1986). There must actually be

  “evidence on which the jury could reasonably find for the [nonmoving] party.” Anderson v.

  Liberty Lobby, Inc., 477 U.S. 242, 252, 106 S.Ct. 2505, 91 L.Ed.2d 202 (1986).

                                           IV.    Discussion

         The Bureau contends that this court incorrectly granted summary judgment in Borders &

  Borders’ favor and denied its own motion for partial summary judgment. Specifically, the

  Bureau argues that while the court correctly concluded that Borders & Borders’ referral scheme

  violated section 8(a) of RESPA, it incorrectly concluded that this referral scheme fell within the

  safe harbor afforded to ‘affiliated business arrangements’ under section 8(c)(4). The grounds for

  granting summary judgment in Borders & Borders’ favor are reconsidered below.

     A. Violation of Section 8(a) of RESPA

         Section 8(a) of RESPA prohibits persons from giving or receiving “any fee, kickback, or

  thing of value pursuant to any agreement or understanding, oral or otherwise, that business

  incident to or a part of a real estate settlement service involving a federally related mortgage loan

  shall be referred to any person.” 12 U.S.C. § 2607(a). The purpose of this statute is to eliminate



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  “kickbacks and referral fees that tend to increase unnecessarily the costs of certain settlement

  services.” 12 U.S.C. § 2601(b)(2). To demonstrate a violation of section 8(a), a plaintiff must

  show: “(i) a payment of a thing of value; (ii) made pursuant to an agreement to refer settlement

  business; and (iii) an actual referral.” Egerer v. Woodland Realty, Inc., 556 F.3d 415, 427 (6th

  Cir. 2009). Additionally, the plaintiff must demonstrate that a federally related mortgage loan

  was at issue.

         A ‘thing of value’ is defined in the statute as “any payment, advance, funds, loan, service,

  or other consideration.” 12 U.S.C. § 2602(2). The statute’s implementing regulation provides

  further guidance, stating that a ‘thing of value’ also includes:

         [M]onies, things, discounts, salaries, commissions, fees, duplicate payments of a
         charge, stock, dividends, distribution of partnership profits, franchise royalties,
         credits representing monies that may be paid at a future date, the opportunity to
         participate in a money-making program, retained or increased earnings, increased
         equity in a parent or subsidiary entity, special bank deposits or accounts, special
         or unusual banking terms, services of all types at special or free rates, sales or
         rentals at special prices or rates, lease or rental payments based in whole or in part
         on the amount of business referred, trips and payment of another person’s
         expenses, or reduction in credit against an existing obligation. 12 C.F.R. §
         1024.14(d).

         This court previously determined that Borders & Borders paid the JVPs a ‘thing of value’

  by “compensat[ing] [them] for their role in the management and/or ownership of the Title

  LLCs.” Mem. Op., ECF No. 157, p. 8. Upon review of the facts and the parties’ briefing, the

  court now believes that Borders & Borders did not give the JVPs any ‘thing of value.’ Rather,

  the consumers purchased title insurance from the Title LLCs, and the Title LLCs subsequently

  distributed profits from the sale of title insurance to the JVPs in accordance with their ownership

  interests in those Title LLCs.

         In its initial briefing, the Bureau acknowledged that funds flowed from the consumers to

  the Title LLCs, but pointed out that the consumers bought the required title insurance from the

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  Title LLCs at the suggestion of Borders & Borders. The Bureau argued that Borders & Borders

  gave the JVPs a ‘thing of value’ when it “nominally assigned title insurance work to the Title

  LLCs, which resulted in premiums flowing to the Title LLCs and profits to the JVPs.” Pl.’s

  Response, ECF No. 137, p. 5; Pl. Mot. Summ. J., ECF No. 129-1, p. 19. The court continues to

  believe that this “nominal assignment” is insufficient to constitute a ‘thing of value’ because

  consumers were not obligated to follow the suggestion of Borders & Borders. Indeed, consumers

  had thirty days after the closing to decide whether to use the Title LLC suggested by Borders &

  Borders, or to use a different title insurance underwriter. If the consumer chose to purchase

  insurance from another underwriter, the JVP involved with the case received nothing. This

  potential benefit is insufficient to constitute a ‘thing of value’ because it is entirely conditioned

  on the third-party consumer’s choice.

           Because the Bureau fails to demonstrate that Borders & Borders paid the JVPs a ‘thing of

  value,’ it is unnecessary to consider whether an agreement existed or whether there was an actual

  referral. The Bureau’s claim that Borders & Borders violated section 8(a) of RESPA is not

  shown by the undisputed facts.

      B. Satisfaction of Safe Harbor Provision Under Section 8(c)(2)

           Even assuming arguendo that Borders & Borders did provide the JVPs a ‘thing of value,’

  their conduct still does not constitute a violation of section 8(a) because of the safe harbor

  provisions in 8(c). The court previously relied on the safe harbor for ‘affiliated business

  arrangements’ under section 8(c)(4).1 The court now finds that the safe harbor for ‘payment for

  services actually performed’ under section 8(c)(2) is the correct provision under these facts.



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    The safe harbor provision in section 8(c)(4) states that “[n]othing in this section shall be construed as prohibiting . .
  . affiliated business arrangements so long as (A) a disclosure is made of the existence of such an arrangement to the
  person being referred . . . (B) such person is not required to use any particular provider of settlement services, and

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           RESPA section 8(c)(2) states that “[n]othing in this section shall be construed as

  prohibiting . . . payment for goods or facilities actually furnished or for services actually

  performed . . .” 12 U.S.C. § 2607(c)(2). A recent decision by the D.C. Circuit interpreting this

  provision is instructive. In PHH Corporation v. CFPB, 839 F.3d 1 (D.C. Cir. 2016), reh’g en

  banc granted, rev’d on other grounds, a mortgage lender, PHH, filed suit against the CFPB after

  the agency instituted an enforcement action against PHH resulting in a $109 million damage

  order against it. According to the CFPB, PHH violated section 8(a) of RESPA when it referred

  consumers to a mortgage insurer, and the mortgage insurer subsequently purchased reinsurance

  policies from PHH’s subsidiary, resulting in profits flowing to PHH. Id. at 40. The D.C. Circuit

  disagreed, holding that PHH did not violate section 8(a) because the section 8(c)(2) safe harbor

  applied. Id. The Court determined that the mortgage insurer was not providing payments in

  exchange for referrals, but in exchange for reinsurance, which it actually received. Id. at 41.

  Although the Court acknowledged that “[PHH’s] actions create[d] a kind of tying

  arrangement”—that is, PHH only agreed to refer consumers to a mortgage insurer if the

  mortgage insurer purchased reinsurance from PHH’s subsidiary—the Court concluded that

  RESPA “does not proscribe [such] a tying arrangement, so long as the only payments exchanged

  are bona fide payments for services and not payments for referrals.” Id. The Court explained that

  a payment is bona fide if it amounts to “reasonable market value” for the service provided. Id.

           The present case is analogous to PHH. Here, consumers made payments to the Title

  LLCs, which subsequently distributed profits to the JVPs in accordance with their ownership

  interest. However, these payments were not made in exchange for referrals, but in exchange for

  title insurance, which the consumers actually received. These payments are presumed to be bona


  (C) the only thing of value that is received from the arrangement . . . is a return on the ownership interest or
  franchise relationship . . .” 12 U.S.C. § 2607(c)(4).

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  fide because there is no evidence that the consumers paid above market value for the title

  insurance. Moreover, this arrangement is less controversial than the arrangement in PHH,

  because a third party, rather than the party receiving the consumer referrals, made the payment.

  The section 8(c)(2) safe harbor therefore applies.2

      Figure 1: PHH Corporation v. CFPB




      Figure 2: CFPB v. Borders & Borders




  2
   Based on this conclusion, the court’s prior application of the section 8(c)(4) safe harbor for ‘affiliated business
  arrangements’ is surplusage.

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         Finally, the court notes that application of the section 8(c)(2) safe harbor in this case does

  not contravene the purpose of RESPA. As previously stated, RESPA was enacted to prevent

  “kickbacks and referral fees that tend to increase unnecessarily the costs of certain settlement

  services.” 12 U.S.C. § 2601(b)(2). Here, there were no kickbacks or referral fees. There was only

  payment by consumers for title insurance that they actually received. Further, the cost of

  settlement services for consumers was not increased. There is no evidence that Borders &

  Borders charged above market rate for their closing services, or that the Title LLCs charged

  above market rate for the provision of title insurance. In short, the consumers received exactly

  what they paid for. It makes no difference whether they received title insurance from a Title LLC

  co-owned by a JVP or from another title insurance agency.

                                           V.     Conclusion

         For the aforementioned reasons, the Bureau’s motion for reconsideration of this court’s

  order granting Borders & Borders’ motion for summary judgment and denying the Bureau’s

  motion for partial summary judgment will be denied. An order will be entered in accordance

  with this memorandum.




                         March 21, 2018

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